Mr. James A. Buttry, Attorney at Law Friday, Eldredge  Clark 2000 Regions Center 400 West Capitol Little Rock, AR 72201-3493
Dear Mr. Buttry:
You have requested approval, pursuant to the Interlocal Cooperation Act [A.C.A. § 25-20-101 et seq.], of an Interlocal Cooperation Agreement among the City of Bryant, Arkansas, the City of Bryant, Arkansas Water Improvement District No. 2, and the Arkansas Soil and Water Conservation Commission.
Under the terms of this agreement, the parties agree generally concerning the construction, maintenance, and operation of a water distribution system.
The Interlocal Cooperation Act requires that interlocal agreements for joint or cooperative action specify the following items:
(1) The duration of the agreement;
(2) The purposes of the agreement;
  (3) The manner of financing the joint or cooperative undertaking and of establishing and maintaining a budget for it;
  (4) The methods of accomplishing termination of the agreement and for the disposal of property (if any) upon termination;
(5) Any other necessary and proper matters.
A.C.A. § 25-20-104(c).
In addition, if the interlocal agreement does not establish a separate legal entity to conduct the joint or cooperative undertaking, it must specify the following items:
  (1) The provision for an administrator or a joint board that will be responsible for administering the joint or cooperative undertaking;
  (2) The manner of acquiring, holding, and disposing of real and personal property (if any) used in the joint or cooperative undertaking.
A.C.A. § 25-20-104(d).
The agreement that you have submitted must specify all of the above-listed items.
Having analyzed the agreement you have submitted, I find that it meets the above-outlined requirements of the law, and is therefore hereby approved in its current form.
Assistant Attorney General Suzanne Antley prepared the foregoing opinion, which I hereby approve.
Sincerely,
MARK PRYOR Attorney General
MP:SA/cyh